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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 MARIE SALAS,                                  )
                                               )
        Plaintiff,                             )      CIVIL ACTION FILE
                                               )
 v.                                            )      NO. 1:21-cv-03959-SDG-JCF
                                               )
 STATEBRIDGE COMPANY, LLC,                     )
 RVFM 11 SERIES, LLC,                          )
 ALAN INVESTMENTS III LLC,                     )
 VISION PROPERTY MANAGEMENT,                   )
 LLC, and DSV SPV3, LLC,                       )
                                               )
        Defendants.                            )

      DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE DISCLOSURE STATEMENT

       COME NOW, Defendant Statebridge Company, LLC (“Statebridge”), by

and through its undersigned counsel, and pursuant to Fed. R. Civ. P. 7.1 and Local

Rule 3.3, submits its Certificate of Interested Persons and Corporate Disclosure

Statement.

       (1) The undersigned counsel of record for Defendants certifies that the
following is a full and complete list of all parties in this action, including any parent
corporation and any publicly held corporation that owns 10% or more of the stock
of a party:

             a.      Marie Salas;
             b.      Statebridge Company, LLC.          Statebridge has no parent
                     corporation, and no publicly held corporation owns 10% or more
                     of its stock.
                                                                                     -1-
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             c.     RVFM 11 Series, LLC
             d.     Alan Investments III, LLC
             e.     Vision Property Management, LLC
             f.     DSV SPV3, LLC.

       (2) The following is a full and complete list of all other persons,
associations, firms, partnerships, or corporations having either a financial interest in
or other interest that could be substantially affected by the outcome of this particular
case:

      None. As it pertains to Statebridge.


     (3) The undersigned further certifies that the following is a full and
complete list of all persons serving as attorneys for the parties in this proceeding:

             a.     Plaintiff Marie Salas

                    A. Cyclone Covey
                    Kneupper & Covey, PC
                    4475 Peachtree Lakes Dr.
                    Berkeley Lake, GA 30096
                    cyclone@kneuppercovey.com

             b.     Defendants Statebridge and DSV SPV3, LLC

                    Christopher J. Reading
                    Dallas R. Ivey
                    Aldridge Pite, LLP
                    Fifteen Piedmont Center
                    3575 Piedmont Road, NE
                    Suite 500
                    Atlanta, Georgia 30305


      Defendant reserve the right to supplement this certificate as necessary.



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Dated:     October 1, 2021           ALDRIDGE PITE, LLP


                                     By: _/s/ Christopher J. Reading______
                                     Christopher J. Reading, Esq.
                                     Georgia Bar No. 141761

ALDRIDGE PITE, LLP
Fifteen Piedmont Center
3575 Piedmont Road NE, Suite 500
Atlanta, Georgia 30305
Phone: (404) 994-7460
Fax: (888) 387-6828
creading@aldridgepite.com



                       CERTIFICATE OF COMPLIANCE

           The undersigned counsel hereby certifies that the foregoing was

     prepared using one of the font and point selections approved by this Court in

     Local Rule 5.1(C). Specifically, Times New Roman 14 point font was used.

                              /s/ Christopher J. Reading




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                               CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS AND

CORPORATE DISCLOSURE STATEMENT by electronically filing the same

using the Court’s CM/ECF System which will send notification of such filing to the

following counsel of record:

                                  A. Cyclone Covey
                             Kneupper & Covey, PC
                            4475 Peachtree Lakes Dr.
                            Berkeley Lake, GA 30096
                          cyclone@kneuppercovey.com

                                 Alan Investments III, LLC
                                    289 S. Culver Street
                                 Lawrenceville, GA 30046

                                RVFM 11 Series, LLC
                          c/o National Registered Agents, Inc.
                                  1209 Orange Street
                                Wilmington, DE 19801

                       Vision Property Management LLC
                         1111 Belleview St., Suite 107
                             Columbia, SC 29201

DATED: October 1, 2021.

                                 /s/ Christopher J. Reading




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